                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT CHATTANOOGA

 UNITED STATES OF AMERICA                                )
                                                         )       Case No. 1:15-cr-16-HSM-SKL
 v.                                                      )
                                                         )
 JEFFREY CAMPAIGNE                                       )

                                              ORDER

         Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the seven-count

 Indictment; (2) accept Defendant’s plea of guilty to Count One of the Indictment; (3) adjudicate

 Defendant guilty of the charges set forth in Count One of the Indictment; (4) defer a decision on

 whether to accept the plea agreement until sentencing; and (5) find Defendant shall remain in

 custody until sentencing in this matter [Doc. 112]. Neither party filed a timely objection to the report

 and recommendation. After reviewing the record, the Court agrees with the magistrate judge’s report

 and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation [Doc. 112] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

         (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

                 is GRANTED;

         (2)     Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

         (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

                 Indictment;

         (4)     A decision on whether to accept the plea agreement is DEFERRED until sentencing;

                 and

         (5)     Defendant SHALL REMAIN in custody until sentencing in this matter which is



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            scheduled to take place on November 16, 2015 at 9:00 a.m. [EASTERN] before the

            Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:

                                                       /s/Harry S. Mattice, Jr.
                                                       HARRY S. MATTICE, JR.
                                                  UNITED STATES DISTRICT JUDGE




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